     Case 3:15-cv-00172-MMD-WGC Document 100 Filed 11/10/21 Page 1 of 1


1

2

3                               UNITED STATES DISTRICT COURT

4                                      DISTRICT OF NEVADA

5                                                 ***

6      DELBERT CHARLES COBB,                            Case No. 3:15-cv-00172-MMD-WGC

7                                   Petitioner,                         ORDER
              v.
8
       JO GENTRY, et al.,
9
                                Respondents.
10

11           Petitioner Delbert Charles Cobb has moved for leave to file an opposition to

12    Respondents’ motion to dismiss in excess of the page limit. (ECF No. 97.) The Court finds

13    that good cause exists for Cobb’s opposition to exceed the page limit set forth in LSR 3-

14    2(c). Accordingly, the Court will grant Cobb’s motion and will permit his opposition to

15    exceed the page limit.

16           Respondents have also filed an unopposed motion for enlargement of time (first

17    request) (ECF No. 99) to file a reply in support of their motion to dismiss. The Court finds

18    that the requested extension is made in good faith and not solely for the purpose of delay,

19    and therefore good cause exists to grant the motion.

20           It therefore is ordered that Cobb’s motion for leave to file petitioner's opposition to

21    motion to dismiss in excess of the page limit (ECF No. 97) is granted.

22           It further is ordered that Respondents' unopposed motion for enlargement of time

23    (first request) (ECF No. 99) is granted. Respondents will have up to and including

24    December 27, 2021, to file a reply to the opposition to the motion to dismiss.

25           DATED THIS 10th Day of November 2021.

26

27
28                                                MIRANDA M. DU
                                                  CHIEF UNITED STATES DISTRICT JUDGE
